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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT
Barrie Drazen, Harry Rosen House, LLC., be td
Harry Rosen House Foundation, Inc. and
John Does One Through Fifteen

Plaintiffs
3.09CV 896 (Wwe )
The Town of Stratford

Defendants

COMPLAINT

Plaintiffs are the owner, operator and residents of a sober living home known as Harry
Rosen House located in Stratford, CT. They bring this action for declaratory and injunctive
relief and damages based on the Town of Stratford’s violations of the Fair Housing Amendments
Act of 1988 and Title II of the Americans with Disabilities Act of 1990. Defendants have
prohibited the residents of Harry Rosen House from using a building on their property to meet
with guests, a restriction imposed on no other household in the Town of Stratford. Defendants
imposed this restriction based on stereotypes about people in recovery from substance abuse and
in response to the complaint of a neighbor hostile to the location of a sober house next door to
his property. Plaintiffs, at great financial cost, exhausted all non-judicial avenues to appeal this
restriction and repeatedly requested that Defendants rescind their discriminatory policy but
Defendants have refused. Plaintiffs therefore seek a declaratory judgment that Defendants’
conduct violates their civil rights, an injunction prohibiting Defendants from discriminating
against them and lifting the restriction on their use of their property, compensatory and punitive

damages and attorney’s fees and costs.

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Il. PARTIES

1, Harry Rosen House, LLC, owns the property at 859 East Broadway in Stratford,
Connecticut which Harry Rosen House Foundation, Inc., a 501(c)(3) organization (collectively
hereinafter “HRH™”) leases the property to provide sober living opportunities within the Town of
Stratford. The property located at 859 East Broadway is known as Harry Rosen House.

2. Barrie Drazen is the President of HRH.

3. John Does One through Fifteen are the disabled residents of Harry Rosen House.
To be a resident of Harry Rosen House, one must be in recovery from drug or alcohol addiction
and therefore a person with a disability under the Fair Housing Amendments Act of 1988 and the
Americans with Disabilities Act of 1992.

4, Defendant Town of Stratford is a Connecticut municipality. The Town of
Stratford receives federal funding from the Department of Housing and Urban Development
through the Community Development Block Grant Program. The Town of Stratford Board of
Zoning Appeals (“BZA”) is responsible for interpreting and enforcing the Town of Stratford’s
zoning code.

Il, JURDICTION AND VENUE

5. This court has subject matter jurisdiction of the federal claims asserted in this
action under 28 U.S.C. §§1331, 1343(a)(4) and 42 U.S.C. §3613. Declaratory judgment and
injunctive relief for Plaintiff OPA are authorized by 28 U.S.C. §§2201-2202.

6. This court is an appropriate venue for the federal claims asserted because all
parties are incorporated, based, or domiciled in Connecticut. Thus, this court will prove

sufficiently convenient for all parties. 28 U.S. C. §1391(b).

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IV. LEGAL FRAMEWORK

7. In 1988, Congress amended the Fair Housing Act, 42 U.S.C. §3601 et seq., to
extend the guarantee of fair housing to handicapped individuals. Congress also authorized the
Secretary of the United States Department of Housing and Urban Development to promulgate
regulations to implement the Fair Housing Act. 42 U.S.C. §3614a.

8. Under the Fair Housing Act, the term "handicap" means, with respect to a person,
a "physical or mental impairment which substantially limits one or more of such person's major
life activities, a record of such an impairment, or being regarded as having such an impairment."
42 U.S.C. §3602(h). The term "physical or mental impairment" includes "alcoholism" and "drug
addiction (other than addiction caused by current, illegal use of a controlled substance)." 24
C.F.R. §100.201.

9. The Fair Housing Act further provides that it is unlawful to discriminate against
any person in the terms, conditions, or privileges of sale or rental of a dwelling, or in the
provision of services or facilities in connection with such dwelling, because of the handicap of
that person or persons residing in or intending to reside in that dwelling after it is sold, rented, or
made available. 42 U.S.C. §3604(f)(2).

10. The federal regulations implementing the Fair Housing Act specifically prohibit,
as a discriminatory activity, providing municipal services differently because of handicap. 24
C.F.R. §100.70 (d)(4).

11. The Americans with Disabilities Act requires that no qualified individual with a

disability shall, by reason of such disability, be excluded from participation in or be denied the

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benefits of the services, program, or activities of a public entity, or be subjected to discrimination
by any such entity. 42 U.S.C. §12132.

12.‘ The federal regulations implementing the Americans with Disabilities Act
prohibit a public entity from administering a licensing program in a manner that subjects
qualified individuals with disabilities to discrimination on the basis of disability, nor may a
public entity establish requirements for the programs or activities of licensees that subject
qualified individuals with disabilities to discrimination on the basis of disability. 28 C.F.R.
§35.130(6).

V. STATEMENT OF FACTS

13. Harry Rosen House is a 9 bedroom house located at 859 East Broadway,
Stratford, CT. It is a sober house. It is home to seventeen individuals, each of whom is a person
in recovery from substance abuse. Each resident agrees to abide by a set of house rules which
requires, inter alia, that he maintain abstinence from alcohol or drug use. The property is
operated under the auspices of Plaintiff HRH.

14. Plaintiff Barrie Drazen is the founder and president of HRH. Mr. Drazen is in
recovery from alcoholism. In 1997, he purchased the property located at 859 East Broadway,
Stratford, CT to provide sober housing to people in recovery from substance abuse. He named it
Harry Rosen House after his grandfather. At the time of purchase, the property included the
main house and an historic out-building known as “the Meeting House.” The prior owner
operated the property as a permitted rooming house. Mr. Drazen has renewed the rooming house
permit year to year since he purchased the property. Renewal of this license requires an annual

inspection by the building, fire and health departments of the Town of Stratford.

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15. | The Meeting House was a two story building that the previous owner had rented
to a local charitable organization for many years.

16. | HRH began operation as a sober house in 1998. From the start, HRH used “the
Meeting House” to hold weekly Twelve Step meetings. Twelve Step meetings are an integral
part of the recovery process for many individuals addicted to drugs and alcohol. These meetings
are typically attended by house residents and alumni, and their sponsors, individuals who have
achieved a sustained period of recovery who provide support and guidance to other recovering
addicts. Mr. Drazen at times also attended these meetings.

17. From 1998 to 2007, neither HRH nor Mr. Drazen ever received any complaints
about the meetings held on the property.

18. In May, 2007, the Meeting House was destroyed in a fire. Mr. Drazen and HRH
immediately applied for a permit to rebuild the structure. Because the property is located in an
historic district, Mr. Drazen and HRH had to submit their plans for review before the historic
district commission. Based on this review, they were required to rebuild the structure in exacting
detail to recreate the original appearance of the Meeting House. The plans submitted by Mr.
Drazen and HRH were approved by the historic commission.

19. After receiving approval from the historic commission, Mr. Drazen and HRH
submitted the plans to the building department. The original building plans included the
construction of a kitchen, bathroom and central heating and cooling. The building department
informed Mr. Drazen and HRH that the building could not be used as a domicile and directed
them to remove the bathroom and kitchen from the design. They complied.

20. Mr. Drazen signed and submitted an application for a building permit stating the

requested purpose as “rebuild pre existing carriage house.” The Town of Stratford building

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department approved the plans and issued a building permit with no restrictions in September
2007.

21. | Atsome point, after he had signed and submitted the application, and outside of
his presence or knowledge, an employee of the Town of Stratford appended to the description of
work a notation “for garage and storage only.”

22. At all times during this process, Mr. Drazen and HRH intended that the
reconstructed building would be used for meetings as it traditionally had been for many years.

23. During construction, the Town of Stratford conducted numerous building and fire
inspections. During an inspection by the Fire Marshall he requested that HRH include
additional fire safety measures intended to facilitate evacuation of individuals from the structure
in the event of a fire. Although not required under the fire code, Mr. Drazen and HRH agreed to
incur substantial additional costs to add these measures when directed to by the building
inspector. These alterations included, adding a three foot landing at the top and bottom of the
internal stair case, installing a fire door at the top of the stairs and a larger fire door at bottom of
the stairs, and rerouting electrical and duct work at a cost of more than $5,000.

24. | Mr. Drazen completed, signed and submitted an application for zoning
compliance which described the property use as “preexisting barn/meeting house.”

25. At some point during the construction of the structure, Fred Wills, a neighboring
property owner complained to the zoning officer, John Ruzatsky about the residents of Harry
Rosen House having Twelve Step meetings in the Meeting House. He also confronted Mr.
Drazen and stated that he did not want addicts next door to him because it would devalue his

property.

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26. | Once HRH’s contractors completed construction of the Meeting House the City
conducted final inspections. The building passed all inspections by May, 2008.

27. | Mr. Drazen submitted an application for a certificate of occupancy from the
building department. At this time, the zoning officer Rusatsky, forwarded the zoning compliance
application to the building department with the notation that the building was “* To be used for
storage only owner informed any meetings in the building would be in violation of zoning.”
(Emphasis in original).

28. Nothing in the Town of Stratford zoning code defines meetings or prohibits the
use of an out-building for meetings. The zoning officer has no legal authority to impose such a
restriction.

29. Based on the zoning officer’s representation, the building official issued a
certificate of occupancy which stated “FOR STORAGE ONLY, NOT APPROVED FOR
MEETINGS.”

30. | HRH appealed the limitation on the Certificate of Occupancy to the State
Building and Codes review panel which upheld the building official’s action on the basis that the
building official considered himself constrained by the zoning officer Rusatsky’s notation.

31. In May 2008, HRH appealed zoning officer Rusatsky’s decision to limit the use of
the building “for storage only” to the Board of Zoning Appeals (“BZA”). HRH asked that the
BZA overrule the zoning officer because he lacked legal authority to impose such a restriction.
In the alternative, HRH also requested that the BZA remove the restriction as a reasonable
accommodation of the disabilities of the residents of the sober house.

32. The BZA conducted a public hearing at which some neighbors expressed

opposition to the application because they opposed having a sober house in a residential

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neighborhood. Following the public hearing, the BZA reversed the zoning officer and removed
the restriction but imposed a new condition that the building could be used for meetings by the
residents of the property only and not after 9 p.m.

33. | The BZA never responded to HRH’s request for a reasonable accommodation.

34, On December 1, 2008, HRH requested that the BZA reconsider the restrictions it
imposed on the certificate of occupancy. In addition to challenging the BZA’s legal authority to
impose such a restriction, HRH asked that the BZA remove the restriction as a reasonable
accommodation of the disabilities of the residents of the property.

35. By letter dated December 4, 2008, the BZA denied HRH’s petition. It did not
address the request for a reasonable accommodation or identify why the request would be
unreasonable or represent an undue burden or result in a fundamental alteration.

36. The Town of Stratford has effectively denied HRH’s request for reasonable
accommodation.

37. Defendants have imposed restrictions on Plaintiffs’ use of their property it does
not impose on any other residents of the Town of Stratford.

38. Defendants’ actions are based on hostility toward and stereotypes about people
with disabilities.

39. The effect of Defendant's actions has been to prevent Plaintiffs from enjoying the
privileges of their property and the facilities connected therewith.

40. Plaintiffs are aggrieved persons under the Fair Housing Amendments act of 1988,
42 U.S.C. Section 3602(d) and (I) who have been injured by Defendant's discriminatory conduct
and have suffered damages, economic loss, including but not limited the cost of legal fees to

administratively challenge Defendant’s improper actions, and a loss of civil rights.

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41, The premises described in the aforementioned paragraphs is a dwelling within the
meaning of section 802(b) of the Fair Housing Act, 42 U.S.C. Section 3602(b).

42. The Town of Stratford is treating the residents of Henry Rosen House in a
discriminatory fashion by imposing far more stringent zoning and land use requirements on this
group of unrelated disabled individuals living together than it imposes upon individuals living
together who are related by blood or marriage or other groups of unrelated nondisabled persons.

43. The Town of Stratford has acted under color of state law in failing to
affirmatively further fair housing in its code enforcement activities with the purpose and effect of
discriminating against Plaintiffs solely because of their handicap, and applying those codes so as
to deny Plaintiffs the residential opportunities available to persons related by blood, marriage or
adoption, or other groups of similarly situated unrelated persons.

44. Defendant Town of Stratford has failed to affirmatively further fair housing in the
administration and application of its zoning and building codes.

VI. CLAIMS FOR RELIEF
COUNT I
FAIR HOUSING ACT

45. Plaintiffs reallege and incorporate herein by reference paragraphs 1 through 44
above.

46. Defendants are violating Plaintiffs’ rights under the Fair Housing Act, 42 U.S.C.
§3601, et. seq, and its implementing regulations by:

a. discriminating against Plaintiffs because of their handicap in the terms,

conditions, and privileges of residing at the 859 East Broadway and in the provision of

services and facilities in connections with those dwellings;

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b. providing its municipal code enforcement services differently to Plaintiffs
because of their handicap;
c. coercing, intimidating, threatening, and interfering with Plaintiffs because of the
handicap of the residents of 859 East Broadway in the exercise and enjoyment of their
right to reside in the dwelling of their choice ;
d. failing to make reasonable accommodations in the application of its zoning code
to afford Plaintiffs an equal opportunity to use and enjoy the dwelling of their choice
within the borders of the City of Stratford .
COUNT II
AMERICANS WITH DISABILITIES ACT
47. Plaintiffs reallege and incorporate herein by reference paragraphs 1 through 46
above.
48. Defendants are violating Plaintiffs’ rights under the Americans with Disabilities
Act, 42 U.S.C. Sections 12101, et. seq, and its implementing regulations by:
a. discriminating against Plaintiffs because of the handicap of the residents of 859
East Broadway, in the terms, conditions, and privileges of residing in at 859 East
Broadway dwelling and in the provision of services and facilities in connections with
those dwellings;
b. utilizing licensing and permit requirements to provide municipal code
enforcement services that are not equal to groups of related non disabled persons and
groups of unrelated disabled persons who are not recovering alcoholics and drug addicts;
c. utilizing licensing and permit requirements to provide municipal code

enforcement services that are not as effective in affording equal opportunity to obtain the

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same benefit, as groups of related non disabled persons and groups of unrelated disabled

persons who are not recovering alcoholics and drug addicts;

d. providing its municipal code enforcement services differently to Plaintiffs

because of the handicap of the residents of 859 East Broadway;

e. utilizing licensing and permit requirements which are not imposed upon groups of

related non disabled persons, to deny Plaintiffs, because of the handicap of the residents

of 859 East Broadway, the enjoyment of any rights, privilege, advantage, or opportunity;

f. failing to modify or waive enforcement of rules, regulations, codes, or policies as

a reasonable accommodation to Plaintiffs’ disabilities.

WHEREFORE, Plaintiffs pray that the Court award them the following relief:

1. Enter a temporary restraining order and/or preliminary and permanent injunctions
restraining Defendants from taking actions to enforce the restriction imposed on the certificate of
occupancy for the accessory building located at 859 East Broadway;

2. Enter a declaratory judgment that Defendant Town of Stratford has illegally
discriminated against Plaintiffs by arbitrarily and capriciously applying it Zoning Regulations to
the use of the property located at 859 E. Broadway by a group of recovering alcoholics and
addicts, thereby interfering with Plaintiffs' equal opportunity to use and enjoy a dwelling on the
basis of handicap, in violation of the Fair Housing Act;

3. Enter a permanent injunction enjoining the Town of Stratford, its officers,
employees, agents, attorneys and successors, and all persons in active concert or participating
with any of them, from interfering with the use of the property at 859 E. Broadway as a home for
recovering alcoholics and substance abusers, and/or from interfering in any way with the rights

of the Plaintiffs to use and enjoy the premises;

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4. Enter an order declaring that Plaintiffs' use of 859 E. Broadway is consistent
with classification of the zoning ordinances of the Town of Stratford and requiring the Town of
Stratford to apply all zoning and building codes to Plaintiffs' use of 859 E. Broadway in the same

manner as it does to all other dwellings;

5. Award compensatory damages;
6. Award of reasonable costs and attorneys fees;
7. Order other such other relief as the Court deems just and proper.

Respectfully submitted, ~ C7

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